[Cite as State v. Collingsworth, 2024-Ohio-3234.]



                                    IN THE COURT OF APPEALS

                           TWELFTH APPELLATE DISTRICT OF OHIO

                                           BUTLER COUNTY




                                                    :
 STATE OF OHIO,
                                                    :   CASE NO. CA2024-04-050
        Appellee,
                                                    :          DECISION
                                                                8/26/2024
     - vs -                                         :

                                                    :
 MICHAEL COLLINSWORTH,
                                                    :
        Appellant.



     CRIMINAL APPEAL FROM BUTLER COUNTY COURT OF COMMON PLEAS
                        Case No. CR2023-11-1697


Michael T. Gmoser, Butler County Prosecuting Attorney, and John Heinkel, Assistant
Prosecuting Attorney, for appellee.

Engel &amp; Martin, LLC, and Mary K. Martin, for appellant.



        Per Curiam.

        {¶1}     This cause came on to be considered upon a notice of appeal filed by

appellant, Michael Collinsworth, the transcript of the docket and journal entries, the

transcript of proceedings and original papers from the Butler County Court of Common

Pleas, and upon the briefs.

        {¶2}     Appellant's counsel has filed a brief with this court pursuant to Anders v.

California, 386 U.S. 738 (1967), which (1) indicates that a careful review of the record
                                                                      Butler CA2024-04-050

from the proceedings below fails to disclose any errors by the trial court prejudicial to the

rights of appellant upon which an assignment of error may be predicated; (2) lists three

potential errors "that might arguably support the appeal," Anders at 744; (3) requests that

this court review the record independently to determine whether the proceedings are free

from prejudicial error and without infringement of appellant's constitutional rights; (4)

requests permission to withdraw as counsel for appellant on the basis that the appeal is

wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have

been served upon appellant.

       {¶3}   Having allowed appellant sufficient time to respond, and no response

having been received, we have accordingly examined the record and find no error

prejudicial to appellant's rights in the proceedings in the trial court. The motion of counsel

for appellant requesting to withdraw as counsel is granted, and this appeal is dismissed

for the reason that it is wholly frivolous.


       S. POWELL, P.J., HENDRICKSON and BYRNE, JJ., concur.




                                              -2-
[Cite as State v. Collingsworth, 2024-Ohio-3234.]
